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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                www.flsb.uscourts.gov

In Re:                                                             Case # 17-11431
Debtor: Gustavo Borjas                                             Chapter 13

                    FINAL REPORT OF LOSS MITIGATION MEDIATOR
The undersigned court-appointed Mortgage Modification Mediation Mediator, reports
to the court as follows:

A. The final Mortgage Modification Mediation Mediator (MMM) conference was conducted on
05-11-2017 and the following parties were present:

1. [   ] The Debtor:
2. [   ] The Debtor's Attorney:
3. [   ] The Lender's Representative:
4. [   ] The Lender's Attorney:

B. The final MMM conference was scheduled for 05-11-2017 but not conducted for the
following reason:

1. [ ] The parties settled prior to attending
2. [ ] The case was dismissed
3. [ ] The debtor failed to attend
4. [ ] The debtor's attorney failed to attend
5. [ ] The lender failed to attend
6. [ ] The lender's attorney failed to attend
7. [ x ] Other: The debtor's appeal of the denial was denied as well.

C. The result of the MMM conference is as follows:

1. [   ] The parties reached an agreement
2. [   ] The parties did not reach an agreement



Dated: 01.10.18                         Signature of Mediator:         //s// Robin Weiner
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